Case 19-50625-jwc       Doc 95     Filed 08/11/21 Entered 08/11/21 14:25:11            Desc Main
                                   Document Page 1 of 4




   IT IS ORDERED as set forth below:



   Date: August 11, 2021
                                                     _________________________________

                                                              Jeffery W. Cavender
                                                         U.S. Bankruptcy Court Judge
                                   Signed as Revised by the Court
 ________________________________________________________________




                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION


IN RE:                                          :          CASE NO. 19-50625-JWC
                                                :
JANIS RILEY ALLEN,                              :          CHAPTER 7
                                                :
         Debtor.                                :
                                                :



   ORDER APPROVING SETTLEMENT AGREEMENT UNDER RULE 9019 OF THE
             FEDERAL RULES OF BANKRUPTCY PROCEDURE

         On July 15, 2021, S. Gregory Hays, as Chapter 7 Trustee (“Trustee”) for the bankruptcy

estate (the “Bankruptcy Estate”) of Janis Riley Allen (“Debtor”), filed his Motion for Order

Authorizing Compromise and Settlement with Debtor under Rule 9019 of the Federal Rules of

Bankruptcy Procedure [Doc. No. 85] (the “Settlement Motion”) and related papers with the

Court, seeking an order, among other things, approving a settlement agreement (the “Settlement




16930392v1
Case 19-50625-jwc        Doc 95      Filed 08/11/21 Entered 08/11/21 14:25:11              Desc Main
                                     Document Page 2 of 4



Agreement”) between Trustee and Debtor (collectively, the “Parties”) wherein, inter alia,1

Debtor shall pay a total of $26,300.00 (the “$26,300.00 Settlement Funds”) to Trustee for the

inchoate interests of the Bankruptcy Estate in certain improved real Properties2—one with

common address of 231 Belletta Drive, Canton, Georgia, and the other located on Canton Street,

Cherokee County, Georgia.3 In return, the inchoate interests of the Bankruptcy Estate in and to

the Properties shall be deemed abandoned upon the later of: (a) Trustee’s receipt in full of the

$26,300.00 Settlement Funds from Debtor in good funds; or (b) the Settlement Approval Order

becoming final. In addition, the Parties stipulate and agree that Debtor shall not have a claim under

Section 502(h) of the Bankruptcy Code in the Bankruptcy Case for or on account of payment of

the $26,300.00 Settlement Funds, or for any reason, and that neither Debtor nor any of her

affiliates, agents, principals, or subsidiaries shall receive a distribution from the Bankruptcy Estate.

Moreover, effective upon the Settlement Approval Order becoming final, Debtor shall waive any

and all obligations that the Bankruptcy Estate may otherwise have to pay to Debtor out of the

$26,300.00 Settlement Funds on account of exemptions asserted by or on behalf of Debtor, if any,

in the Properties, the inchoate interests in the Properties, or the $26,300.00 Settlement Funds. The

exact terms of the Settlement Agreement are set forth in Exhibit “A” to the Settlement Motion.

        Also on July 15, 2021, Trustee filed Notice of Pleading, Deadline to Object, and for

Hearing [Doc. No. 88] (the “Notice”) regarding the Settlement Motion, in accordance with


1      The following is a summary of the Settlement Agreement and is not intended to be
comprehensive. To the extent that anything in this summary is contrary to the terms of the
Settlement Agreement, the Settlement Agreement controls.

2       Capitalized terms not otherwise defined herein shall have the meanings ascribed to them
in the Settlement Motion.
3       Trustee estimates that the proposed settlement will allow him to make a meaningful
distribution to holders of timely filed, unsecured claims.


16930392v1
Case 19-50625-jwc       Doc 95     Filed 08/11/21 Entered 08/11/21 14:25:11              Desc Main
                                   Document Page 3 of 4



General Order No. 24-2018. Counsel for Trustee certifies that he served the Notice on all requisite

parties in interest on July 15, 2021. [Doc. No. 89].

        The Notice provided notice of the opportunity to object and for hearing pursuant to the

procedures in General Order No. 24-2018. No objection to the Settlement Motion was filed prior

to the objection deadline provided in the Notice.

        The Court having considered the Settlement Motion and all other matters of record,

including the lack of objection to the relief requested in the Settlement Motion, and, based on the

foregoing, finding that no further notice or hearing is necessary; and, the Court having found that

good cause exists to grant the relief requested in the Settlement Motion, it is hereby

        ORDERED that the Settlement Motion is GRANTED: the Settlement Agreement is

APPROVED, and its terms are incorporated herein by reference. It is further

        ORDERED that Trustee may take any other actions necessary to effectuate the terms of

the Settlement Agreement and the Settlement Motion. It is further

        ORDERED that this Court retains jurisdiction to (i) interpret, implement, and enforce this

Order, (ii) resolve any disputes regarding or concerning the Settlement Agreement, and (iii) enter

such other and further orders as may be necessary, just, or proper as an aid to enforcement or

implementation of this Order.

                                    [END OF DOCUMENT]




16930392v1
Case 19-50625-jwc        Doc 95       Filed 08/11/21 Entered 08/11/21 14:25:11   Desc Main
                                      Document Page 4 of 4



Order prepared and presented by:

ARNALL GOLDEN GREGORY LLP
Attorneys for Trustee

By:/s/ Michael J. Bargar
    Michael J. Bargar
    Georgia Bar No. 645709
171 17th Street, NW, Suite 2100
Atlanta, GA 30363
Telephone: (404) 873-8500
michael.bargar@agg.com

Identification of entities to be served:

Office of the United States Trustee
362 Richard B. Russell Building
75 Ted Turner Drive, SW
Atlanta, GA 30303

Karmel Sunzette Davis
Karmel S. Davis & Associates
3379 Hwy 5, Ste A
Douglasville, GA 30135

Karmel Sunzette Davis
Karmel S. Davis & Associates
P. O. Box 5736
Douglasville, GA 30154

Janis Riley Allen
4600 Egret Court
Austell, GA 30106

S. Gregory Hays
Hays Financial Consulting, LLC
Suite 555
2964 Peachtree Road
Atlanta, GA 30305

Michael J. Bargar
Arnall Golden Gregory LLP
171 17th Street, NW, Suite 2100
Atlanta, GA 30363




16930392v1
